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I, Jonathan S. Stewart, a Special Agent (SA) with the Federal Bureau of Investigation
(FBI), Baltimore Division, Baltimore, Maryland, being duly swom, depose and state as follows:

1. I have been a SA With the FBI since May 2018. Prior to my employment With the
FBI, I was a State Trooper with the Maryiand State Police beginning in January 2012. The majority
of my time with the Maryiand State Police was spent assigned to a federal high intensity drug
trafficking area (HIDTA) task force, Where l Was a federally deputized task force officer for both
the Drug Enforcement Administration (DEA) and the Department of Homeland -Security,
I-Iomeland Security Investigations (HSI). During that time, I authored dozens of federal search
warrants in furtherance of investigations as well as, authored multiple Title III affidavits and ran
multiple wiretap investigations Since being employed with the FBI, I have primarily investigated
federal violations concerning child pornography and the sexual exploitation of children. I have
gained experience through daily Work related to conducting these types of investigations I have
participated in the execution of numerous search warrants, of which the majority have involved
child exploitation and/or child pornography offenses Many of the child exploitation and/or child
pornography search warrants resulted in the seizure of eomputers, cell phones, magnetic storage
media for computers, other electronic media, and other items evidencing violations of federal laws,
including various sections of Title 18, United States Code § 2252A involving child exploitation
offenses I have also participated in the execution of numerous search Warrants for online
accounts, such as email accounts, online storage accounts and other online communication `
accounts related to child exploitation and/or child pornography In the course of my employment

with the FBI, I have observed and reviewed numerous examples of child pornography (as defined

in 18 U.S.C. § 2256) in all forms of media including computer media and within online accounts

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2. As a federal agent, I am authorized to investigate violations of laws of the United
States and am a law enforcement officer with the authority to execute warrants issued under the
authority of the United Statesl

3. This affidavit is made in support of an application for a warrant to search the
associated files of Cybertipline Report 41l79735 that were forwarded to the National Center for
Missing and Exploited Children (NCMEC) by Tumblr (hereinafter referred to as the “TARGET
FILES”).

4. The TARGET FILES are to be searched for evidence of violations of Title 18,
United States Code, Section 2252A(a)(2) (distribution and receipt of child pornography), Title 18,
United States Code, Section 2252A(a)(5)(B) (possession of child pornography).

ii The statements in this affidavit are based in part on information and reports
provided by NCMEC, Tumblr, and Special Agents of the FBI, and on my experience and
background as a Special Agent of the FBI. Since this affidavit is being submitted for the limited
purpose of securing a search warrant, I have not included each and every fact known to me
concerning this investigation I have set forth only the facts that I believe are necessary to establish
probable cause to believe that evidence, fruits, and instrumentalities of the violations of Title 18,
United States Code, Section 2252A(a)(2) tdistribution and receipt of child pomography), and Title
18, United States Code, Section 2252A(a)(5)(B) (possession of child pornography), are located in
the TARGET FILES.

SUMMARY CONCERNING 'CHILD PORNOGRAPHY. PERSONS WHO
POSSESS AND COLLECT CHILD PORNOGRAPHY AND HOW USE OF

COMPUTERS AND THE INTERNET RELATES 'I`O THE POSSESSION,
RECEIPT AND DISTRIBUTI()N OF CHILD PORNOGRAPHY

6. Based on my investigative experience related to child pornography investigations,

and the training and experience of other law enforcement officers with whom I have had

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discussions, I have learned that individuals who utilize the internet to view and receive images of
child pornography are often individuals who have a sexual interest in children and in images of

children, .and that there are certain characteristics common to such individuals, including the

following:

a. Individuals who have a sexual interest in children or images of children may
receive sexual gratification, stimulation, and satisfaction from contact with children, or from
fantasies they may have viewing children engaged in sexual activity or in sexually suggestive
poses, such as in person, in photographs, or other visual media, or from literature describing such
activity.

b. Individuals who have a sexual interest in children or images of children may
collect sexually explicit or suggestive materials, in a variety of media, including photographs,
magazines, motion pictures, videotapes, books, slides and/or drawings or other visual media.
Individuals who have a sexual interest in children or images of children oftentimes use these
materials for their own sexual arousal and gratification Further, they may use these materials to
lower the inhibitions of children they are attempting to seduce, to arouse the selected child partner,
or to demonstrate the desired sexual acts.

c. Individuals who have a sexual interest in children or images of children
frequently maintain their “hard copies” of child pornographic material, that is, their pictures, films,
video tapes, magazines, negatives, photographs, correspondence, mailing lists, books, tape
recordings, etc., in the privacy and security of their home or some other secure FILES. Individuals
who have a sexual interest in children or images of children typically retain pictures, films,
photographs, negatives, magazines, correspondence, books, tape recordings, mailing lists, child
erotica, and videotapes for many years.

d. Likewise, individuals who have a sexual interest in children or images of
children often maintain their collections that are in a digital or electronic format in a safe, secure
and private environment, such as a computer or cellphone, and surrounding area. These collections
are often maintained for several years and are kept close by, usually at the collector’s residence,
or in online storage, email accounts or other online communication accounts, to enable the
individual to view the collection, which is valued highly.

e. lndividuals who have a sexual interest in children or images of children also
may correspond with and/or meet others to share information and materials, rarely destroy
correspondence from other child pornography distributors/collectors conceal such
correspondence as they do their sexually explicit material, and often maintain lists of names,
addresses, and telephone numbers of individuals with whom they have been in contact and who
share the same interests in child pornography This data is typically in digital format, and often
maintained on computers, cell phones and in online storage, email accounts or other online
communication accounts

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f. lndividuals who would have knowledge on how to distribute and receive
digital images of child pornography through the use of Peer to Peer networks and other online
methods would have gained knowledge of its FILES through online communication with others
of similar interest Other forums, such as bulletin boards, newsgroups, IRC chatl or chat rooms
have forums dedicated to the trafficking of child pornography images lndividuals who utilize
these types of forums are considered more advanced users and therefore more experienced in
acquiring a collection of child pornography images ‘

g. lndividuals who have a sexual interest in children or images of children
prefer not to be without their child pornography for any prolonged time period. This behavior has
been consistently documented by law enforcement officers involved in the investigation of child
pornography

7. Based on my investigative experience related to computer and internet related
child pornography investigations and the training and experience of other law enforcement
officers with whom I have had discussions I have learned the following:

a. Computers and computer technology have revolutionized the way in which
child pornography is produced, distributed, and utilized. It has also revolutionized the way in
which child pornography collectors interact with each other. Child pornography formerly was
produced using cameras and film (either still photography or movies.) ' The photographs required
darkroom facilities and a significant amount of skill in order to develop and reproduce the images
As a result, there were definable costs involved with the production of pornographic images To
distribute these on any scale also required significant resources The photographs themselves were
somewhat bulky and required secure storage to prevent their exposure to the public, The
distribution of these wares was accomplished through a combination of personal contact, mailings
and telephone calls Any reimbursement would follow these same paths

b. The development of computers, smartphones and the internet have added to
the methods used by child pornography collectors to interact with and sexually exploit children.
Computers, smartphones and the internet serve four functions in connection with child
pornography These are production, communication, distribution, and storage

c. Mobile devices such as laptop computers, smartphones, iPods, iPads and
digital media storage devices are known to be used and stored in vehicles on persons or other
areas outside of the residence

d. 7 Smartphones have the capability to access the Intemet and store
information, such as videos and images. As a result, an individual using a smartphone can send,
receive, and store files, including child pornography, without accessing a personal computer or
laptop. An individual using a smartphone can also easily plug the device into a computer, via a
USB cable, and transfer data files from one digital device to another. Many people generally carry
their smartphone on their person.

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e. Child pomographers can now transfer photographs from a camera onto a
computer-readable fonnat. With the advent of digital cameras, the images can now be transferred
directly onto a computer. A device known as a modern allows any computer to connect to another
computer through the use of telephone, cable, or wireless connection Electronic contact can be
made to literally millions of computers around the world. The ability to produce child pornography
easily, reproduce it inexpensively, and market it anonymously (through electronic

- communications) has drastically changed the method of distribution and receipt of child
pornography

f. Child pornography can be transferred via electronic mail or through file
transfer protocols (FTP) to anyone with access to a computer and modem. Because of the
proliferation of commercial services that provide electronic mail service, chat services (i.e.,
“Instant Messaging”), easy access to the Internet, and online file sharing and storage, the computer
is a preferred method of distribution and receipt of child pornographic materials

g. The Intemet and its World Wide Web afford collectors of child pornography
several different venues for obtaining, viewing, and trading child pornography in a relatively
secure and anonymous fashion Collectors and distributors of child pornography use online'
resources to retrieve and store child pomography, including services offered by Intemet Portals
such as AOL lnc., Yahoo, and Google, Inc., Facebook, Dropbox, lnstagram, among others The
online services allow a user to set up an account with a remote computing service that provides e-
mail services, file exchange services, messaging services, as well as electronic storage of computer
files in any variety of formats A user can set up an online storage account from any computer
with access to the Intemet. Email accounts, online storage accounts, and other online
communication accounts allow users to save significant amounts of data, including email, images,
videos, and other files The data is maintained on the servers of the providers, and is occasionally
retained by the providers after the user deletes the data from their account.

h. ln my recent investigative experience, as well as recent discussions with law
enforcement officers, l know that individuals who collect child pornography are using email
accounts, online storage accounts, and other online communications accounts to obtain, store,
maintain, and trade child pornography with growing frequency, in addition to, or as an alternative
to, the use of personal devices

i. Based on traits shared by collectors, the use of email, online storage
accounts, and other online communication accounts, and the increased storage capacity of
computers and server space over time, there exists a fair probability that evidence regarding the
distribution receipt and possession of child pornography will be found in the TARGET FILES
notwithstanding the passage of time.

j. In addition computer files or remnants of such files can be recovered
months or even years after they have been downloaded onto a hard drive, deleted, or viewed via
the Intemet. Electronic files downloaded to a hard drive can be stored for years at little to no cost.
Even when such files have been deleted, they may be recoverable months or years later using
readily available forensic tools

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k. When a person “deletes” a file on a home computer, the data contained in
the file does not actually disappear', rather, that data remains on the hard drive until it is overwritten
by new data. Therefore, deleted files, or remnants of deleted files, may reside in free space or
slack space that is, in space on the hard drive that is not allocated to an active file or that is unused
after a file has been allocated to a set block of storage space for long periods of time before they
are overwritten

l. In addition, a computer’s operating system may also keep a record of
deleted data in a “swap” or “recovery” file. Similarly, files that have been viewed via the Intemet
are automatically downloaded into a temporary Intemet directory or cache. The browser typically
maintains a fixed amount of hard drive space devoted to these files, and the files are only
overwritten as they are replaced with more recently viewed Intemet pages

m. The storage capacity of personal computers has increased dramatically over
the last few years Common and commercially available hard drives are now capable of storing
over 500 GB of data. With that amount of storage space, an individual could store thousands of
video files and/or hundreds of thousands of image files

n Thus, the ability to retrieve residue of an electronic file from a hard drive
depends less on When the file was downloaded or viewed than on a particular user’s operating
system, storage capacity, and computer habits Since the storage capacity of hard drives has

increased dramatically over the last several years, it is more likely that the above-described
information will be recovered during forensic analysis

NCMEC CYBERTIPLINE
8. The National Center for Missing and Exploited Children (NCMEC) receives
complaints via their Cybertipline from Intemet Service Providers (ISPS), Electronic Service
Providers (ESPS_), and others These Cybertipline reports are reviewed by a NCMEC analyst and

forwarded to law enforcement for further investigation on the information provided in the

Cybertipline report.
TUMBLR
9. Tumblr is a free microblogging and social networking website. Users can post

multimedia and other content to a short-form blog. Users can follow other user’s blogs
Bloggers can also make their blogs private. The dashboard is the primary tool for the typical
Tumblr user. It is a live feed of recent posts from blogs that the`y follow. Through the
dashboard, users are able to comment, reblog, and like posts from other blogs that appear on

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their dashboard.` The dashboard allows the user to upload text posts, images, video, quotes, or
links to their blog with a click of a button displayed at the top of the dashboard. Users are also
able to connect their blogs to their Twitter and Facebook accounts; so whenever they make a
post, it will also be sent as a tweet and a status update. Users are able to set up a schedule to
delay posts that they make. They can spread their posts over several hours or even days Users
are also able to use a custom domain name for their blog. You can make your blog private or
make specific posts private as needed. Additionally, Tumblr users can send private messages to
each other.

PROBABLE CAUSE

lO. _ On October 4, 2018, Tumblr sent Cybertipline Report 41179735 to NCMEC and
listed the Incident Type as “Child Pomography (possession, manufacture, and distribution).”

ll. The report for 41179735 stated that the Tumblr account xnolimitx244 uploaded six
files to their Tumblr account Six files were provided with this Cybertipline report and have not
been reviewed by the FBI._These six files are the subject of this affidavit and application for a
search warrant A warrant is being sought for these files due to the fact that Tumblr did not
provide any information as to whether or not they viewed the files prior to sending them to
NCMEC. The six files are currently in the custody and control of the FBI. Tumblr terminated this

blog so it can no longer be accessed.

12. Tumblr provided the following information regarding the account:
Email Address: kevintale778@gmail.com
Screen/U ser Name: xnolimitx244
Profile URL: xnolimitx244.tumblr.com
IP Address: 2601:140:4280:18b8:7c06:l464:29fb:1042 (Other)

13. A public database query determined that the IP address above was managed by

Comcast and the geo-lookup function reported the IP address to be in the area of Aberdeen Proving

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Grounds, Maryland. Comcast provided records which establish that the IP address above was
assigned to: Donel Wanton, 6307 Ocean Court, Apt A, Aberdeen Proving Ground, Maryland
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l4. In January 2013, Tumblr sent Cybertipline lleports 26898336 and 26949931 to
NCMEC. The report for 26898336 stated that the Tumblr account associated with the Tumblr
URL: xnolimitx245.tumblr.com and email address: tben9289@gmail.com uploaded three files to
the Tumblr account The report for 26949931 stated that the Turnblr account associated with the
Tumblr URL: xnolimitx25.tumblr.com and email address js3585565@gmail.com uploaded four
files to Tumblr account.

15. Tumblr provided the IP address -73.212.103.184 as associated with both of the
account A public database query determined that the IP address was managed by Comcast.
Comcast provided records which establish that the IP address was assigned to: Donel Wanton,
6307 Ocean Court, Apt A, Aberdeen Proving Ground, Maryland 21005.

16_. l reviewed the three images associated with Cybertipline Report 26898336 and
provided by Tumb]r and concluded, based on my training and experience, that at least two images
contain visual depictions of minors engaging in sexually explicit conduct and are child
pornography under 18 U.S.C. § 2256(8). In one image, the title of which is
“conversation_l44012031_1515630016688.jpg,” an adult male’s penis is penetrating a minor
males anus l

17. I reviewed the four images associated with Cybertipline Report 26949931 and
provided by Tumblr and concluded, based on my training and experience, that at least two images

contain visual depictions of minors engaging in sexually explicit conduct and are child

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pornography under 18 U.S.C. § 2256(8). In one image, the title of which is “169608659253.jpg,”
- a naked minor male is on his hands and knees with his genitalia exposed to the camera.

18. On February 1_6, 2018, based on the above information, search warrants for the

Tumblr accounts xnolimitx245 and xnolimitx25 and the Google accounts tben9289@gmail.com
y and j33585565@gmail.com were submitted to and granted by United States Magistrate Judge A.
David Copperthite in the District of Maryland.

19. I reviewed the search warrant response for Tumblr account xnolimitx245 and
determined it contained multiple files of child pomography. One video file, entitled
“168153729183” is a video of a prepubescent male engaged in anal intercourse with an adult male.
Additionally, the Google Drive account for tben9289@gmail.com also contained multiple files of
child pornography One video file, entitled “deleted-l_$145419624321384508” shows an adult
male engaged in anal intercourse with a toddler.

20. I also reviewed the search warrant response for Tumblr account xnolimitxZS and
determined it contained at least 3 files of child pomography. In one image, the title of which is
“l69608659253.jpg,” a naked minor male is on his hands and knees with his genitalia exposed to
the camera.

MMAH

21. Based on the facts detailed above, l believe that, due to the similar Tumblr
account names, as well as, the same subscriber information for the IP addresses and repeated
pattern behavior, that Tumblr user xnolimitx244 is the same user as xnolimitx25 and
xnolimitx245.

122. Based on the activity of the Tumblr accounts and associated Google accounts

detailed above, I believe that the user of the Tumblr accounts displays characteristics common to

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individuals who access with the intent to view and/or, possess, collect, receive, or distribute child
pornography as discussed in paragraphs 6 and 7 above. Based on these characteristics and
because the TARGET FILES appears to be accessed, controlled and/or created by the same user
as xnolimitx245 and xnolimitx25, I respectfully submit there is probable cause that the TARGET
FILES contains evidence of the distribution receipt, and possession of child pomography.
CONCLUSION v

23. Based on the foregoing information l have probable cause to believe that
contraband, and evidence, fruits, and instrumentalities of violations of Title 18, U.S.C. §
2252A(a)(2) and Title 18, U.S.C. § 2252A(a)(5)(B) as set forth herein and in Attachment B, are
currently contained in the TARGET FILES more fully described in Attachment A. I therefore
respectfully request that a search warrant be issued authorizing a search of the TARGET FILES
for the items described above and in Attachment B, and authorizing the seizure and examination

of any such items found therein

//"'M
é§pecial Agent Jonathan S. Stewart
F ederal Bureau of Investigation

Sworn an ubscribed before me
this 23 ay of November, 2018

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ATTACHMENT A
ITEMS TO BE SEARCHED
Associated files of Cybertipline Report 41179735 that were forwarded to the National
Center for Missing and Exploited Children (NCMEC) by Tumblr, which files are now in the

custody and control of the Federal Bureau of Investigation.

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ATTACHMENT B
LIST OF ITEMS TO BE SEIZED
Any and all files containing a visual depiction of a minor, to include images and videos of
children engaged in sexually explicit conduct as described in 18 U.S.C. § 2256, nude pictures, and
modeling. Communication, information pictures videos or documentation that identifies the user

of the account or that indicate a sexual interest in children

